    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK
      ________________________________________________________________
      SPERO HARITATOS, an individual           )
                                               )
                   Plaintiff,                  )
                                               )
      vs.                                      )
                                               )  Civil Action No. 6:05-CV-930
      HASBRO, INC., a Rhode Island corporation )                   (DNH) (GJD)
      and TOYS “R” US-NY LLC,                  )
      a New York limited liability company     )
                                               )
                   Defendants.                 )
      ________________________________________________________________

                  PROTECTIVE ORDER GOVERNING CONFIDENTIALITY

      IT IS HEREBY STIPULATED by the Parties through their respective counsel of

record that, pursuant to Federal Rule of Civil Procedure 26(c), the following protective

order be entered by the Court:

      1. This Stipulation and Protective Order Governing Confidentiality (“Protective

Order”) shall apply to all information, materials or things subject to discovery in this

action, (“Discovery Material”) including, without limitation, documents, testimony,

inspections and responses provided pursuant to the Federal Rules of Civil Procedure,

which contain confidential or trade secret information. As used herein, the term “Party”

shall mean: (a) Plaintiff, Spero Haritatos; (b) Defendants Hasbro, Inc. (“Hasbro”) and

Toys “R” Us-NY LLC (“TRU”); and (c) any other parties later named in this action.

      2. Documents and information obtained by or made available to any Party by

means other than through the discovery provisions of the Federal Rules of Civil

Procedure or analogous provisions of state or foreign law shall not be subject to this

Protective Order. Furthermore, nothing in this Protective Order shall prevent disclosure
                                        1
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 2 of 17




beyond the terms of this Protective Order if the designating party consents in writing to

such disclosure or if the Court allows such disclosure as provided for in Paragraphs 17

and 20.

       3. The Discovery Material may be designated, in appropriate circumstances as

“CONFIDENTIAL” or “OUTSIDE COUNSEL ONLY.” Discovery Material designated as

“CONFIDENTIAL” includes technical, marketing, business, and trade information

generally unknown and essentially unavailable to the public. Discovery Material

designated as “OUTSIDE COUNSEL ONLY” includes financial information, pending and

abandoned unpublished patent applications, information regarding future products and

business strategies and all other information that is a trade secret. The identification of

Discovery Materials with either of these designationsthis designation is referred to

herein as “Confidential Designation” or “Designated Pursuant To This Protective Order.”

       4. Any party (including any third party not named in this action) that is required to

produce materials or information in discovery in this case may make Confidential

Designations on Discovery Material only for which the designating party believes, in

good faith, there is good cause for confidential treatment consistent with the designation

level. Any designations made not in good faith shall subject the designating party to

sanctions imposed by the Court.

       5. The Confidential Designation of documents and other information need not be

made prior to the inspection of such documents or other information by the receiving

party, but shall be made at or prior to the furnishing of copies (except in the case of a

deposition transcript, the designation shall be made during the deposition on the record

at the time of the designated testimony, as described more fully in Paragraph 19, infra)

                                         2
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 3 of 17




by affixing to every page a stamp bearing the words “CONFIDENTIAL” or “OUTSIDE

COUNSEL ONLY” in a location that makes the designation readily apparent. The

Confidential Designation may also be affixed to any documents generated in the course

of this litigation, including portions of briefs, memoranda or any other writings filed with

the Court, that reveals any material with a Confidential Designation.

       6. A Party shall have the right to request Confidential Designation for documents

called for by subpoena to a third party, in cases where the documents were provided by

the Party to the third party pursuant to an agreement that the information was being

provided on a confidential or highly confidential basis, provided such request is made to

the third party, and copied to the other Party, within fourteen (14) days of production of

the documents to the requesting party or its counsel.

       7. Unless otherwise ordered by the Court, all information, materials or things with

a Confidential Designation shall be used solely for the purpose of this litigation and of

pursuing or defending legal rights relating to this litigation (including in the pending and

any other Trademark Trial and Appeal Board proceeding between two or more of the

parties concerning the CANDYLAND or CANDY LAND marks), and not for any other

purpose, including but not limited to use in any business or commercial enterprise;

except as may be subpoenaed by any court, administrative or legislative body. In the

event that the receiving party makes copies of any of the information, materials or things

identified by a Confidential Designation for use in connection with this litigation, then the

receiving party shall ensure that all such copies bear the same legend as the originals

from which such copies were made.




                                          3
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 4 of 17




      8. If documents marked with a Confidential Designation are called for in a

subpoena by someone who is not a party to this action, the receiving party to whom the

subpoena is directed shall immediately give written notice thereof to each party that has

designated the documents and shall provide each such designating party with an

opportunity to object to the production of such documents in response to the subpoena.

      9. Material filed with the Court that has been Designated Pursuant To

ThisConfidential pursuant to this Protective Order for any purpose shall be filed in a

sealed envelope or other opaque container, covered by a caption page marked with one

of the following statements, whichever is appropriatestatement:

             “FILED UNDER SEAL

             CONFIDENTIAL -- SUBJECT TO PROTECTIVE ORDER”

                                   or

             “FILED UNDER SEAL

             OUTSIDE COUNSEL ONLY -- SUBJECT TO PROTECTIVE ORDER”

      For the convenience of the Parties and the Court, a party that files a paper

containing any Confidential Designation as well as non-confidential material may file the

entire paper under seal. If any party fails to file protected documents or information

under seal, the producing party or the party claiming the confidentiality of the

documents or information may request that the Court place the filed documents or

information under seal.

      10. If a producing party inadvertently produces any material properly entitled to a

Confidential Designation without marking it with the appropriate legend, the producing

party may give written notice to the receiving party, including appropriately designated

                                        4
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 5 of 17




and stamped copies of the material, that the document or information is deemed

Designated Pursuant To The Protective OrderConfidential pursuant to this protective

order and should be treated as such in accordance with the provisions of this Protective

Order. Upon notification of the Confidential Designation of the document or other

information, the receiving party shall use its reasonable best efforts to collect all copies

of the inadvertently- produced document or other information from persons not entitled

to access to such document or information had it been properly designated, and to treat

the document or other information shall thereafter be treated as if it had been timely

Designated Pursuant To ThisConfidential pursuant to this Protective Order. If the

receiving party is subject to excessive costs or burden in connection with undertaking to

comply with this Paragraph, then the producing party shall reimburse the receiving party

for the reasonable expenses incurred in connection therewith. In no event shall the

inadvertent disclosure by the producing party of documents or other information without

the appropriate Confidential Designation legend be deemed to be a waiver in whole or

in part of the producing party’s claim of confidentiality, either as to the specific

information disclosed or as to any other information relating thereto or on the same or a

related subject.

       11. The term “Independent Expert” shall be defined as any person with whom a

Party may deem it necessary to consult concerning technical, financial, or other aspects

of this case for the preparation or trial thereof, provided such person is not an employee

of such a competitior of any Party and has not been a consultant within the last year for

such a competitor of any Party except as an expert retained for or in anticipation of

litigation or preparation for trial in any case.

                                            5
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 6 of 17




      12. Except with the prior written consent of the producing party or upon prior

order of     the Court obtained upon noticed motion, material designated as

“CONFIDENTIAL” shall not be shown, delivered or disclosed to any person other than:

              (a) Counsel for each Party, including attorneys employed in the legal

      departments of the defendants. This includes paralegals, clerical, secretarial and

      administrative employees of such counsel assigned to assist in the preparation of

      this litigation;

              (c) One internal, non-lawyer representative of each Party, designated by

each Party immediately following the entry of this Protective Order;

              (d (b) Employees of any professional photocopy service utilized by

      counsel in the preparation of this litigation;

              (ec) Any author, recipient, or employee of the producing party of such

“CONFIDENTIAL” material;

              (fd) The Court and any persons employed by the Court whose duties

require access to such material;

              (ge) Any Independent Expert retained by counsel to assist in the

preparation of this case or to testify at trial or any other proceeding in this action,

provided the documents disclosed pertain to the expected testimony of the Independent

Expert and the disclosing party complies with Paragraph 14. This includes secretarial

and clerical employees associated with such person; and

              (hf) Court reporters and other persons involved in recording testimony in

his action by any means.




                                          6
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 7 of 17




       13. Except with the prior written consent of the producing party or upon prior

order of the Court obtained upon noticed motion, material designated as “OUTSIDE

COUNSEL ONLY” shall not be shown, delivered or disclosed to any person other than:

               (a) Outside Counsel of Record for each Party. This includes clerical,

secretarial and administrative employees of such counsel assigned to assist in the

preparation of this litigation;

               (b) Employees of any professional photocopy service utilized by counsel in

the preparation of this litigation;

               (c) Any author, recipient (actual or alleged) or producing party of such

“OUTSIDE COUNSEL ONLY” material;

               (d) The Court and any persons employed by the Court whose duties

require access to such material;

               (e) Any Independent Expert retained by counsel to assist in the

preparation of this case or to testify at trial or any other proceeding in this action,

provided the documents disclosed pertain to the expected testimony of the Independent

Expert and the disclosing party complies with Paragraph 14. This includes secretarial

and clerical employees associated with such person; and

               (f) Court reporters and other persons involved in recording testimony in

this action by any means.

14. The procedure for theAny Party desiring to reveal material Designated Pursuant

To ThisConfidential pursuant to this Protective Order to any of the persons referred to in

Paragraphs 12(g) or 13(e) above shall be as follows:

               (a) The Party seeking to reveal such material Designated Pursuant To

                                          7
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 8 of 17




This Protective Order shall, at least ten (10) days prior to disclosure of such material to

such persons, provide the following information to the designating party:

                    i)     The name and residential address and phone number of the

person to whom the Party desires to reveal material Designated Pursuant To This

Protective Order; and

                    ii)    The name of the present employer and job title of the

                           person. In addition, the Party seeking to reveal material

                           Designated        Pursuant     To      This     Protective   Order

                           shallIndependent      Expert   shall    first   obtain   a   signed

                           Undertaking, in the form attached hereto as Exhibit A, from

                           such person, stating that the person has read this Protective

                           Order, understands its provisions, agrees to be bound

                           thereby, and agrees to be subject to the jurisdiction of this

                           Court in any proceedings relative to enforcement of the

                           Protective Order. Counsel shall maintain a complete record

                           of every original signed Undertaking obtained from any

                           person pursuant to this Paragraph.

             (b) Within ten (10) days of receipt of the information and Undertaking

described in Paragraph 16(a), the designating party may object in writing to the

disclosure of material Designated Pursuant To This Protective Order to the person to

whom the Party seeks to disclose such material if the designating party believes that

there is a reasonable likelihood that such person:

                    i)       May use the material Designated Pursuant To This

                                         8
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 9 of 17




Protective Order for Purposes other than the preparation or trial of this case; or

                     ii)      Possesses confidential information of the designating

party. Failure to object in writing within ten (10) days to the proposed disclosure of

material Designated Pursuant To This Protective Order shall be deemed a consent to

such disclosure.

              (c) If an objection to the disclosure of material Designated Pursuant

       ToThis Protective Order pursuant to Paragraph 16 is not resolved by the parties

       within ten (10) days of service of the written notice of objection described in

       Paragraph 16(b), the Party desiring to disclose information may file a motion with

       respect to such objection within twenty (20) days of service of the notice of

       objection. If such a motion is filed, the disclosure of material Designated

       Pursuant To This Protective Order to the person objected to shall be withheld

       pending the ruling of the Court on any such motion.

       15. Neither the provisions of this Protective Order nor the filing of any information

under seal shall prevent the use, in open court, at any hearing or at trial of this case, of

any material that is subject to this Protective Order or filed under seal pursuant to its

provisions. The Parties shall meet and confer concerning appropriate methods for

dealing with material Designated Pursuant To ThisConfidential pursuant to this

Protective Order at hearings and at trial.

       16. Either Party wishing to designate deposition testimony or documents

submitted as exhibits to a deposition pursuant to this Protective Order must do so on

the record at the time of the designated testimony.




                                             9
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 10 of 17




         16. As to depositions upon oral examination, if any counsel so states at the

deposition, that counsel shall order a transcript and the testimony of the witness shall be

deemed designated CONFIDENTIAL until the expiration of twenty (20) calendar days

after the receipt by counsel of the record of the transcript of the deposition.        The

deposition transcript may only be shown to the persons specified in paragraph 12 above

during the twenty (20) calendar day period, and if counsel of record believes that the

deposition transcript or portions thereof constitutes Confidential information, counsel

shall designate in writing to other counsel of record within that twenty-day period the

specific pages and lines constituting such Confidential Designations. If no such specific

designations are made within the time period, the entire transcript shall be deemed not

to contain Confidential information and shall no longer be governed by this Protective

Order.

         17. Unless and until otherwise ordered by the Court or agreed to in writing by the

Parties, all material Designated Pursuant To This Protective Order shall be treated in

accordance with its designation and shall not be disclosed except under the terms of

this Protective Order.

               (a) In the event that either Party objects to the designation of any

document or other material, such Party may, in writing, request the designating party to

remove or change the designation. Such written request shall specifically identify the

document or other material at issue.

               (b) The designating party shall respond in writing within ten (10) business

days of receipt of the written request, or within such other period of time as may be

designated by order of the Court or agreed to by the parties. If the designating party

                                          10
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 11 of 17




refuses to remove or change the designation as requested, its written response shall

state the reasons for this refusal. Notwithstanding the foregoing, failure to provide a

timely written response shall be deemed a refusal of the request.

             (c) If a confidentiality designation is challenged, the designating party shall

have the burden to establish that the information is correctly designated within the

meaning of this Protective Order.

              (e)   In the event the Court finds that a designation was not made in

                 good faith, the Court shall impose sanctions on the designating party.

      18. This Protective Order shall not constitute a waiver of either Party’s rights

under the Federal Rules of Civil Procedure or the Local Rules of this Court.

      19. Any inadvertent production of documents or other material containing

privileged information shall not be deemed to be a waiver of the attorney-client privilege,

work product doctrine or any other applicable privilege or doctrine. Each Party

specifically reserves the right to demand the return of any privileged document or other

material that it may produce inadvertently during discovery if the Party determines that

such document or material contains privileged information

      20. No later than sixty (60) days after the final adjudication of this action,

including any appeals, and upon written request by a designating party, all materials

Designated Pursuant To This Protective Order shall be returned to the designating party

or shall be destroyed, unless a motion seeking modification of this Protective Order is

filed. In the event that such materials are destroyed, the person(s) responsible for such

destruction shall certify in writing to the completion and manner of destruction.

Notwithstanding the foregoing, a party may retain one archival copy of each pleading,

                                        11
1227123v23
1230011v2
     Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 12 of 17




each deposition, hearing, and trial transcript and exhibit, each court ruling, decision, or

order, and correspondence maintained by the Parties’ outside counsel in their

respective litigation files in the ordinary course of business; and nothing herein shall

require the parties' outside attorneys to purge or destroy any electronic files.

       21. Nothing in this Protective Order shall limit any producing party’s use of its

own documents or shall prevent any producing party from disclosing information

Designated Pursuant To This Protective Order to any person in the manner set forth in

this Protective Order.

       22. The Court retains jurisdiction to make such amendments, modifications and

additions to this Protective Order as it may from time to time deem appropriate. Either

Party may make a request to the Court for any reasonable amendment to this Protective

Order to facilitate the efficient and appropriate handling of confidential information.


                            DATED this _________ day of _____________ 2005



By ____________________________                   By _____________________________
   PATTERSON BELKNAP WEBB                            WALL MARJAMA & BILINSKI, LLP
        & TYLER, LLP
   Kim J. Landsman                                   Robert E. Purcell
   Bar Roll No. 513,364                              Bar Roll No. 510,595
   Michael D. Sant’Ambrogio                          101 South Salina Street, # 400
   Bar Roll No. 513,364                              Syracuse, New York
   1133 Avenue of the Americas                       Telephone No. 315-425-9000
   New York, New York 10036
   Telephone No. 212-336-2436                        Attorney for Plaintiff
                                                         Spero Haritatos
     Attorneys for Defendant
        Hasbro, Inc.



By     ___________________________
                                         12
1227123v23
1230011v2
    Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 13 of 17




      BOND, SCHOENECK, & KING, PLLC
      John G. McGowan
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`     One Lincoln Center
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      Telephone No. 315-218-8000

      Attorneys for Defendant
          Toys “R” US




                                  13
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 14 of 17




                                        ORDER 6:05-CV-930 (DNH) (GJD)


      Good cause appearing therefore,


IT IS SO ORDERED.




DATED: _______________                  ________________________________
                                        UNITED STATES MAGISTRATE JUDGE




                                    14
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 15 of 17




                                        Exhibit A

                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF NEW YORK
______________________________________________________________________

SPERO HARITATOS, an individual             )
                                           )
                     Plaintiff,            )
                                           )
      vs.                                  )
                                           ) Civil Action No. 6:05-CV-930
HASBRO, INC., a Rhode Island corporation   )                   (DNH) (GJD)
and TOYS “R” US-NY LLC,                    )
a New York limited liability company       )
                                           )
                     Defendants.           )
______________________________________________________________________

                                    UNDERTAKING

      I, _________________________________, hereby certify that I have read the

Stipulation and Protective Order Governing Confidentiality (the “Order”) entered in the

above-captioned case on ____________________ 200_,2005, and that I understand

the terms, conditions and restrictions it imposes on any person given access to

“CONFIDENTIAL” and/or “OUTSIDE COUNSEL ONLY” materials. I recognize that I am

bound by the terms of that Order, and I agree to comply with those terms.

      I will not disclose “CONFIDENTIAL” and/or “OUTSIDE COUNSEL ONLY”

materials to anyone other than persons specifically authorized by the Order and agree

to return all such materials that come into my possession to counsel from whom I

received such materials. I hereby consent to be subject to the personal jurisdiction of

the United States District Court for the Northern District of New York with respect to any

proceedings relative to the enforcement of the Order, including any proceeding related

to contempt of Court.
                                        15
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 16 of 17




      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct and that this Undertaking is executed this ____ day of

______________________       200_,    at    _________________________________.



                                             ___________________________
                                             (Signature)


                                             ________________________________
                                             Home Address


                                             ________________________________
                                             Home Phone


                                             ________________________________
                                             Employer/Business


                                             ________________________________
                                             Job Title/Description




                                     16
1227123v23
1230011v2
   Case 6:05-cv-00930-DNH-GJD Document 15-3 Filed 11/22/05 Page 17 of 17




Document comparison done by DeltaView on Monday, October 31, 2005 9:58:10 AM
Input:
Document 1          iManageDeskSite://_IDMS01/iNYC01/1227123/2
Document 2          iManageDeskSite://_IDMS01/iNYC01/1227123/3
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                     Count
Insertions                                 33
Deletions                                  91
Moved from                                  4
Moved to                                    4
Style change                                0
Format changed                              0
Total changes                             132




1230011v2
